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                                                                      Monday, 14 January, 2019 02:53:53 PM
                                                                              Clerk, U.S. District Court, ILCD

                             UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )
               v.                             )       Case No. 17-cr-20037-JES-JEH
                                              )
BRENDT A. CHRISTENSEN,                        )
                                              )
                       Defendant.             )

                                     ORDER AND OPINION
       Now before the Court is Defendant Brendt A. Christensen’s Motion (Doc. 98) to

Suppress Jail Communications and Fruits Thereof. The United States has filed a Response (Doc.

142), and Defendant has filed a Reply (Doc. 171). Oral argument was held on December 18,

2018. For the reasons set forth below, Defendant’s Motion (Doc. 98) is DENIED.

                                          BACKGROUND

       Defendant Brendt A. Christensen was arrested by federal agents on June 30, 2017,

pursuant to a criminal complaint which charged him with the kidnapping of Yingying Zhang, a

female Chinese national, in violation of 18 U.S.C. § 1201. Doc. 1. Christensen was later indicted

by a federal grand jury sitting in the Urbana Division of the Central District of Illinois. See Doc.

13 (Indictment), Doc. 26 (Superseding Indictment). The Superseding Indictment charges

Christensen with kidnapping resulting in death, in violation of 18 U.S.C. § 1201(a)(1) (Count 1),

and making false statements to FBI agents investigating Yingying Zhang’s disappearance, in

violation of 18 U.S.C. § 1001(a)(2) (Counts 2, 3). Doc. 26. The Superseding Indictment returned

by the grand jury also included a notice of special findings regarding the nature of the offense

charged in Count 1, including that the death of the victim was intentional, that it occurred during

the commission of kidnapping, that it was committed in an especially heinous, cruel, or depraved
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manner, and that Defendant committed the offense after substantial planning and premeditation.

Id. The special findings alleged in the Superseding Indictment made the case eligible for capital

punishment. See 18 U.S.C. § 3591 et seq. On January 19, 2018, the United States filed its Notice

of Intent to Seek a Sentence of Death. Doc. 54; see also 18 U.S.C. §3593(a). On August 17,

2018, this case was reassigned to Chief District Judge James E. Shadid.

        In the instant Motion, Defendant seeks suppression of all evidence the United States

obtained by listening to recordings of Christensen’s phone calls while detained at the Macon

County and Livingston County jails, asserting that the United States’ use of such recordings

violates the Fourth and Fifth Amendments to the United States Constitution.1 Doc. 98.

Defendant asserts that, although jails may generally record phone conversations of pretrial

detainees for purposes of security, the phone calls at issue here were not recorded for that

purpose, but rather were turned over to the prosecution solely for the purpose of bolstering the

prosecution’s case during the penalty phase of the trial. Id. at 2–3.

        Defendant asserts the following as a factual basis in support of his motion. After

Christensen’s arrest, University of Illinois Police Department Task Force Officer (“TFO”) Barbra

Robbins contacted officials at the Macon County Jail to request access to Christensen’s

communications through the inmate monitoring system, and TFO Trevor Stalets subsequently

provided Robins with log-in information to access the recordings. Robbins then sent an email to

FBI agents informing them that she would catalogue the contents of Christensen’s phone calls

and prepare summaries. When Christensen was transferred to the Livingston County Jail, his

phone conversations continued to be recorded. Id. at 3–4.



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  Defendant does not allege that his phone conversations with counsel were recorded. Thus, the Court’s reference to
phone conversations throughout this Order refers exclusively to Christensen’s phone conversations with those other
than his counsel.

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       On November 27, 2017, FBI Intelligence Analyst Alex Wedderspoon requested electronic

copies of all of Christensen’s incoming and outgoing mail. Livingston County Jail Administrator

Inman replied to Wedderspoon informing him that Livingston County did not copy incoming or

outgoing mail unless requested. Wedderspoon then formally requested copies of all future mail

and particularly asked for a copy of a letter Christensen wrote on November 24, 2017. On

January 17, 2018, Wedderspoon notified FBI Agent Anthony Manganaro that he had identified

an expert, Lt. Kris Thompson, who could serve as an expert witness with respect to the jail call

monitoring system. On January 31, 2018, Wedderspoon contacted Livingston County Jail

Administrator Inman and stated that he had only received an electronic copy of one incoming

letter from Christensen’s mother. Wedderman also requested copies of visitor logs and noted the

FBI could access “Ctel Skype visits.” A Livingston County Jail official responded to

Wedderman’s request in an email to the three prosecutors asking them to contact Administrator

Inman. Attorney Nelson from the Capital Case Section of the Department of Justice emailed

Inman and stated that the information was needed “for Mr. Christensen’s trial, in particular the

death penalty phase.” Id. at 4–5.

       On February 18, 2018, Nelson emailed his fellow counsel and FBI agents that Inman had

“set me up with an account on Smart Jail, because Livingston County is going to an electronic

system for inmates [which] allows for instant messages, postal mail, and photographs, and

records them all so that we can look at them at any time.” Mr. Nelson sent the login information

and password and wished his colleagues “Happy Hunting!” Defendant asserts that the United

States is in possession of over 500 recordings of Christensen’s phone conversations, and that

neither the jail nor the United States has produced any formal agreement or memoranda

concerning the routine disclosure of inmate communications to the prosecution. Id. at 6.



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       Defendant also asserts the seizure and search of Christensen’s phone calls violated his

Fifth Amendment due process rights. Id. at 17–21. He argues that the recording of his phone

conversations amounted to punishment, and was thus prohibited under Bell v. Wolfish, 441 U.S.

520 (1979).

       In its Response, the United States argues that (1) Defendant had no legitimate or

reasonable expectation of privacy in his recorded jails calls, and (2) he impliedly consented to

their monitoring and recording. Doc. 142, at 2. Defendant’s Reply discusses, inter alia, Supreme

Court cases about drunk driving. See Doc. 171. This Order follows.

                                         LEGAL STANDARD

       “A search within the protection of the Fourth Amendment occurs when the government

intrudes upon an individual’s legitimate expectation of privacy in the object of the

search.” United States v. Paxton, 848 F.3d 803, 807 (7th Cir. 2017) (citing Katz v. United States,

389 U.S. 347, 352–53 (1967)). The Fourth Amendment’s protections “extend to government

eavesdropping upon one’s conversations with others, in circumstances where he has a reasonable

expectation that the conversation is not subject to interception.” Id. (citing Katz, 389 U.S. at

353). In order to establish a protected privacy interest in an intercepted conversation, a defendant

must show (1) that he manifested a subjective expectation of privacy in that conversation, and (2)

that his subjective expectation is one that society is prepared to recognize as reasonable. Id. at

808. If the defendant makes the required showings, the conversation will be deemed an unlawful

unauthorized search unless an exception to the warrant requirement justifies the intrusion. Id.

(citing Katz, 389 U.S. at 354–59).




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                                            DISCUSSION

(a) Defendant’s Fourth Amendment Challenge

       In his Motion, Defendant first asserts that his rights under the Fourth Amendment were

violated when federal prosecutors and law enforcement officers obtained recordings of

Christensen’s phone conversations for purposes other than jail security. Doc. 98. Defendant

recognizes that the privacy rights of pretrial detainees are curtailed, see Bell v. Wolfish, 441 U.S.

520 (1979), but argues that Christensen had a “reasonable expectation of privacy in not having

his communications handed over by jail officials en masse to prosecutors[.]” Doc. 98, at 8.

Whether Christensen had a protectable Fourth Amendment privacy interest in his jail

communications depends on whether he manifested a subjective expectation of privacy in his

conversations, and if so, whether that subjective expectation is one that society is prepared to

recognize as reasonable. See Paxton, 848 F.3d at 808 (citing Katz, 389 U.S. at 353).

       The defense must first show that Christensen, a pretrial detainee, had a subjective

expectation of privacy in his phone conversations. See Katz, 389 U.S. at 351 (“What a person

knowingly exposes to the public, even in his own home or office, is not a subject of Fourth

Amendment protection. But what he seeks to preserve as private, even in an area accessible to

the public, may be constitutionally protected.”) (internal citations omitted). Here, each of

Christensen’s phone calls at the Macon and Livingston County jails were preceded by a

recording informing both participants that the call was being recorded. Doc. 142, at 2. Moreover,

the United States immediately and routinely handed over the recordings to the defense. Id. Thus,

at the outset of each phone call, Christensen was aware that his conversations were not private.

He therefore lacked a subjective expectation of privacy in his recorded jail calls. See United

States v. Doyle, No. 06 CR 224, 2007 WL 707023, at *1 (E.D. Wis. Feb. 16, 2007) (“[W]here, as



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here, a jail provides notice that calls will be monitored, there is no reasonable expectation of

privacy in such communications, United States v. Sababu, 891 F.2d 1308, 1329 (7th Cir. 1989).

In the present case, defendant was plainly advised in several ways that his calls were being

monitored and recorded. He cannot claim a legitimate expectation of privacy under such

circumstances.”).

        Even if Christensen had a subjective expectation of privacy in his jail phone calls, the

expectation must be one that society is prepared to recognize as reasonable. Katz, 389 U.S. at

808. In Hudson v. Palmer, the Supreme Court addressed a prisoner’s expectation of privacy in

his prison cell:

        Notwithstanding our caution in approaching claims that the Fourth Amendment is
        inapplicable in a given context, we hold that society is not prepared to recognize as
        legitimate any subjective expectation of privacy that a prisoner might have in his
        prison cell and that, accordingly, the Fourth Amendment proscription against
        unreasonable searches does not apply within the confines of the prison cell. The
        recognition of privacy rights for prisoners in their individual cells simply cannot be
        reconciled with the concept of incarceration and the needs and objectives of penal
        institutions.

Hudson v. Palmer, 468 U.S. 517, 525–26 (1984). The concerns that justify curtailing prisoner’s

Fourth Amendment rights are also present with pretrial detainees. Bell v. Wolfish, 441 U.S. 520,

547 (1979) (“There is no basis for concluding that pretrial detainees pose any lesser security risk

than convicted inmates. Indeed, it may be that in certain circumstances they present a greater risk

to jail security and order.”). Thus, in United States v. Paxton, the Seventh Circuit held that

individuals detained in the back of a police van lacked an objectively reasonable expectation of

privacy in conversations that were surreptitiously recorded by law enforcement. United States v.

Paxton, 848 F.3d 803, 811 (7th Cir. 2017).

        In the specific context of a prisoner or detainee’s recorded phone calls, the Seventh

Circuit has similarly held that an expectation of privacy in such calls is unreasonable. See United

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States v. Sababu, 891 F.2d 1308, 1329 (7th Cir. 1989) (“We believe that it was unreasonable for

her to expect that telephone calls she placed to an inmate in a high-security federal penitentiary

would be private.”); United States v. Madoch, 149 F.3d 596, 602 (7th Cir. 1998) (marital

communications privilege does not apply to recorded telephone conversations between defendant

and her incarcerated spouse because privilege only applies to communications made in

confidence, and there is no expectation of privacy in jail telephone calls). Applying Madoch,

Sababu, and Paxton to the facts of the present case, the Court agrees with the United States that

Christensen did not have a reasonable expectation of privacy in his recorded jail calls.

Accordingly, the Court finds that Christensen did not have a protectable Fourth Amendment

privacy interest in his jail communications.

       The United States also argues that, even if Christensen did have a Fourth Amendment

interest in his recorded calls, the recordings would still be admissible at trial because he

impliedly consented to the recording of his phone conversations. Doc. 142, at 7–8. This

justification was alluded to by the Seventh Circuit in Sababu. 891 F.2d at 1329 (non-prisoner

caller had no reasonable expectation of privacy when speaking on prison phone in part because

CFR placed her on constructive notice that prison officials could legally monitor calls).

Likewise, in United States v. Novak, the First Circuit held that a prisoner consented to the

recording of phone conversations with his attorney, and that the consent was valid

“nothwithstanding the smaller number of choices that an inmate in that circumstance has.”

       Holyoke was made aware, both through posted signs and recorded messages, that
       his calls would be monitored and recorded. He did not ask prison officials if there
       was a way to communicate with his attorney without having his calls monitored,
       nor did he ask either his Federal Defender or Novak himself how to avoid the
       monitoring of calls. He did not choose alternate means to communicate with Novak,
       such as by letter or in person. Instead, Holyoke initiated telephone calls to Novak
       and discussed sensitive legal issues, despite the fact that every call he initiated
       started with a recording stating that the call was subject to monitoring and

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       recording. Under these circumstances, we hold that Holyoke consented to
       monitoring of his calls.

United States v. Novak, 531 F.3d 99, 103 (1st Cir. 2008) (O’Connor, J., sitting by designation).

Here, the Court agrees with the United States that Christensen impliedly consented to the

recording of his jail phone calls when he proceeded to make the calls after being placed on notice

that his calls were being recorded.

       Lastly, Defendant argues that, although jails may record and monitor Christensen’s

communications for the purposes of security, the review of Christensen’s communications was

not done for that purpose. Rather, Defendant argues that Christensen’s communications were

reviewed by the FBI solely for the purpose of gathering evidence against him. Doc. 95, at 3. In

its Response, the United States argues that the Supreme Court’s decision in California v.

Greenwood forecloses such an argument. Doc. 142, at 5. In Greenwood, the Supreme Court held

that the respondents did not have a reasonable expectation of privacy under the Fourth

Amendment in garbage bags left on the curb:

       Here, we conclude that respondents exposed their garbage to the public sufficiently
       to defeat their claim to Fourth Amendment protection. It is common knowledge that
       plastic garbage bags left on or at the side of a public street are readily accessible to
       animals, children, scavengers, snoops, and other members of the public.
       See Krivda, supra, 5 Cal.3d, at 367, 96 Cal.Rptr., at 69, 486 P.2d, at 1269.
       Moreover, respondents placed their refuse at the curb for the express purpose of
       conveying it to a third party, the trash collector, who might himself have sorted
       through respondents' trash or permitted others, such as the police, to do so.
       Accordingly, having deposited their garbage “in an area particularly suited
       for public inspection and, in a manner of speaking, public consumption, for the
       express purpose of having strangers take it,” United States v. Reicherter, 647 F.2d
       397, 399 (CA3 1981), respondents could have had no reasonable expectation of
       privacy in the inculpatory items that they discarded.

California v. Greenwood, 486 U.S. 35, 40–41 (1988).

       In United States v. Doyle, the United States District Court for the Eastern District of

Wisconsin applied Greenwood to a factual situation almost identical to the instant case. In Doyle,

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the pretrial detainee defendant argued that jailer’s passing along of his intercepted jail phone

conversations to prosecutors violated his Fourth Amendment privacy interests. United States v.

Doyle, No. 06 CR 224, 2007 WL 707023, at *1–2 (E.D. Wis. Feb. 16, 2007). The district court

rejected this argument, reasoning:

       Defendant further argues that even if the notices provided by the jail informed him
       of call recording, the passing of the tapes on to prosecutors was unjustified and
       unexpected. However, he cites no authority for the proposition that jailers may not
       share evidence with prosecutors, or that he may claim an expectation of privacy
       against his prosecutors if not his jailers. Cf. California v. Greenwood, 486 U.S. 35,
       40-41, 108 S.Ct. 1625, 100 L.Ed.2d 30 (1988) (rejecting claim that citizen has
       legitimate expectation of privacy in garbage which she expects to be picked up by
       sanitation workers, rather than police).

Doyle, No. 06 CR 224, 2007 WL 707023, at *2. In sum, the court in Doyle rejected the argument

that a defendant who does not have a legitimate expectation of privacy in his jail calls being

reviewed by jail officials may nevertheless have an expectation of privacy when those jail calls

are forwarded to outside law enforcement or prosecutors. Id.

       Similarly, in Paxton, the Seventh Circuit recently rejected the argument that the

legitimacy of a defendant’s expectation of privacy depends on the subjective intentions of law

enforcement:

       Officers also have a significant interest in security that warrants the monitoring of
       detainees in their custody, to ensure that detainees are not harming one another or
       attempting escape, or that a detainee has not fallen ill, for
       example. See, e.g., Virginia v. Moore, 553 U.S. 164, 177, 128 S.Ct. 1598, 1607–08,
       170 L.Ed.2d 559 (2008) (describing safety rationale for permitting police searches
       incident to arrest); Florence v. Bd. of Chosen Freeholders of Cnty. of Burlington,
       566 U.S. 318, 330–34, 132 S.Ct. 1510, 1518–20, 182 L.Ed.2d 566 (2012) (noting
       safety and health interests that justify intrusive searches of detainees upon
       admission to jail). The government stresses this latter interest in its briefs. We agree
       with the defendants that it is somewhat ironic for the government to invoke this
       interest, given that it did not use its surveillance equipment to monitor them in real
       time during their transport to the ATF office (which would have enabled agents to
       detect and address any safety problems as they arose) and instead only recorded
       their conversations for later use. But the material point, in terms of the defendants'
       expectation of privacy, is that the government has legitimate reasons, wholly

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        consistent with the public interest, for monitoring individuals it has taken into its
        custody and placed into a transport vehicle. Regardless of the agents' actual
        motivations for monitoring the defendants during transport, these legitimate
        interests reinforce our conclusion that society is not prepared to recognize as
        reasonable whatever subjective expectations of privacy the defendants may have
        harbored in their conversations within the van. See Illinois v. Lafayette, 462 U.S.
        640, 646–47, 103 S.Ct. 2605, 2609–10, 77 L.Ed.2d 65 (1983) (conducting
        inventory search of arrested person's belongings is reasonable regardless of
        particular officer's subjective motivations for search).

Paxton, 848 F.3d at 812–13 (emphasis added).

        Applying Greenwood, Doyle, and Paxton to the instant case, the Court agrees with the

United States that the motivations for recording Christensen’s jail calls are not relevant to

whether he harbored a legitimate expectation of privacy in those calls. See also Whren v. United

States, 517 U.S. 806, 813 (1996) (“We think these cases foreclose any argument that the

constitutional reasonableness of traffic stops depends on the actual motivations of the individual

officers involved…. Subjective intentions play no role in ordinary, probable-cause Fourth

Amendment analysis.”). Accordingly, Defendant’s Fourth Amendment challenge to the recording

of his jail phone calls is denied.

(b) Defendant’s Fifth Amendment Challenge

        Next, Defendant argues that the seizure and search of Christensen’s phone calls violated

his Fifth Amendment due process rights. Doc. 98, at 17–21. Specifically, Defendant argues that

the recording of his phone conversations amounted to punishment, and was thus prohibited under

Bell v. Wolfish, 441 U.S. 520 (1979). In Bell, the Supreme Court addressed whether certain

search policies at a detention center constituted punishment under the Fifth Amendment.

Answering in the negative, the Supreme Court reasoned,

        Neither the District Court nor the Court of Appeals suggested that these restrictions
        and practices were employed by MCC officials with an intent to punish the pretrial
        detainees housed there. Respondents do not even make such a suggestion; they
        simply argue that the restrictions were greater than necessary to satisfy petitioners'

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       legitimate interest in maintaining security. Therefore, the determination whether
       these restrictions and practices constitute punishment in the constitutional sense
       depends on whether they are rationally related to a legitimate nonpunitive
       governmental purpose and whether they appear excessive in relation to that
       purpose. Ensuring security and order at the institution is a permissible nonpunitive
       objective, whether the facility houses pretrial detainees, convicted inmates, or both.
       For the reasons set forth in Part III, supra, we think that these particular restrictions
       and practices were reasonable responses by MCC officials to legitimate security
       concerns.

Bell v. Wolfish, 441 U.S. 520, 561 (1979) (internal citations omitted). Defendant argues that

attorney Nelson’s email to Inman and “Happy Hunting!” email to co-counsel show an “express

intent to punish” Christensen. Doc. 98, at 19. Further, Defendant asserts that “the indiscriminate

monitoring, rummaging through and sharing of all of Mr. Christensen’s communications by FBI

agents, Task Force Officers and the prosecutors in this case had no rational relationship to the

security of the Macon County and Livingston County Jails and was, in any event, an exaggerated

response to any issues of security.” Id. at 20. The United States did not respond to this portion of

Defendant’s Motion.

       The Court believes that Defendant’s reading of Bell strains the definition of “punishment”

too far. Bell discussed restrictions and procedures such as body cavity searches of detainees and

prisoners, and upheld those procedures as legitimate responses to security concerns. 441 U.S. at

561. If the body cavity searches in Bell did not amount to punishment, it is difficult to imagine

any set of circumstances where the monitoring and recording of a detainee’s jail phone calls

would. Moreover, the monitoring and recording of jail phone calls is a common policy not only

at the Macon County and Livingston County jails, but of detention facilities generally. “Loss of

freedom of choice and privacy are inherent incidents of confinement in such a facility.” Id. at

537. Thus, as a pretrial detainee, the officials at the Macon and Livingston County jails may

“subject him to the restricts and conditions of the detention facility so long as those conditions



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and restrictions do not amount to punishment, or otherwise violate the Constitution.” Bell, 441

U.S. at 536–37. The Court finds that the recording of Christensen’s phone calls did not amount to

punishment and therefore denies Defendant’s Fifth Amendment challenge.

                                        CONCLUSION

       For the reasons set forth above, Defendant’s Motion (Doc. 98) is DENIED.



               Signed on this 14th day of January, 2019.

                                             s/ James E. Shadid
                                             James E. Shadid
                                             Chief United States District Judge




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